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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                            No. CR 24-0375 JB

SHERYL STAPLETON,
JOSEPH JOHNSON,

                Defendants.

                                            ORDER

       THIS MATTER IS BEFORE THE COURT on the parties’ Joint Motion to Vacate May

23, 2025 Hearing [Doc. 68], filed May 19, 2025. The Court having considered the joint motion,

and being fully advised in the premises, finds that the parties have a created sufficient record to

justify granting the motion.

       IT IS ORDERED that the hearing set for May 23, 2025, is hereby vacated.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE

Submitted by:

/s/ Ryan J. Villa
RYAN J. VILLA
Counsel for Defendant Sheryl Stapleton


/s/ Marc Lowry
RYAN J. VILLA
Counsel for Defendant Joseph Johnson


 /s/ Jeremy Pena
JEREMY PENA
Assistant United States Attorney
